 Case: 2:09-cr-00054-JLG-TPK Doc #: 58 Filed: 09/17/09 Page: 1 of 4 PAGEID #: 158
                                                                            FILED 

                                                                       JAMES BONINI 

                                                                          CLERK

                   IN THE UNITED STATES DISTRICT COURT 

                    FOR THE SOUTHERN DISTRICT OF OHIO 

                             EASTERN DIVISION
                                                         2009           SEP 11 P 2: llll
                                                                    u,s~ DiS" (·:DURT
UNITED STATES OF AMERICA                                            SOUTHERH ill  OHIO
                                                                    ':;'51 r;v~   UM8US
        v.                         Case No: CR -2-09-0S4 (1) (2), (3)
                                                                f

                                            21 U.S.C. §841(a) (1)
                                            21 U.S.C. §841(b) (1) (E) (vii)
(1)   DANIEL VANCE WALLS,                   21 U.S.C. §846
           aka Fly,                         18 U.S.C. §924(c) (1) (A)
                                            18 U.S.C. §924 (d) (1)
(2)   MARK L. MAY,                          18 U.S.C. §2

(3)   JOSE GUADALUPE CANEZ,
           aka Lupe,                          JUDGE FROST


                                            SUP E R SED I N G
                                            I N D I C T MEN T

THE GRAND JURY CHARGES:

                                    COUNT 1

      Beginning in late 1997 or early 1998, through on or about

March 26, 2008, the exact dates being unknown to the Grand Jury,

in the Southern District of Ohio and elsewhere, the defendants,

DANIEL VANCE WALLS, aka Fly, and MARK L. MAY, did knowingly and

intentionally combine, conspire, confederate and agree together

and with other persons, both known and unknown to the Grand Jury,

to unlawfully distribute and possess with intent to distribute

100 kilograms or more of marijuana, a Schedule I controlled

substance, in violation of 21 U.S.C. §841(a} (1) and 21 U.S.C.

§841 (b) (1)   (B) (vii) .
 Case: 2:09-cr-00054-JLG-TPK Doc #: 58 Filed: 09/17/09 Page: 2 of 4 PAGEID #: 159



     It was part of the conspiracy that the defendant! DANIEL

VANCE WALLS! and co conspirators! both known and unknown to the

Grand Jury! would obtain quantities of marijuana from several

different sources of supply throughout the course of this

conspiracy! which! they would! in turn! distribute to their

customer base in southern Ohio.

      It was further part of the conspiracy that                 defendant!

DANIEL VANCE WALLS, and co-conspirators! both known and unknown

to the Grand Jury, would recruit couriers to transport loads of

marijuana to Ohio          further distribution.

      It was further part of the conspiracy that the defendant,

MARK L. MAY, assis         in the unloading of some of the marijuana

shipments once they were received by his brother, DANIEL VANCE

WALLS! in the Southern District of Ohio.

      It was further part of the conspiracy that the defendant,

DANIEL VANCE WALLS, and co-conspirators, both known and unknown,

would obtain substantial quantities of U.S. currency as a result

of their marijuana distribution activities, which they utilized

to further their marijuana business! invest in other bus

ventures and to sustain their own lifestyles.

            In violation of 21 U.S.C. §846.




                                        2

Case: 2:09-cr-00054-JLG-TPK Doc #: 58 Filed: 09/17/09 Page: 3 of 4 PAGEID #: 160



                                   COUNT 2 


       On or about October 17, 2004, the exact dates being unknown

to the Grand Jury, in the Southern District of Ohio and

elsewhere, DANIEL VANCE WALLS, aka Fly, MARK L. MAY, and JOSE

GUADALUPE CANEZ, aka Lupe, the defendants, as well as Raymundo

Carranza, who is not specifically named as a defendant in the

Superseding Indictment, did knowingly and intentionally

unlawfully attempt to possess with intent to distribute over 100

kilograms of marijuana, a Schedule I controlled substance.

       In violation of 21 U.S.C. §841(a) (1), 21 U.S.C.
            §841(b) (I) (B) (vii), 21 U.S.C. §846 and 18 U.S.C. §2.




                                   COUNT 3

       On or about October 17, 2004, the exact dates being unknown,

in the Southern District of Ohio, the defendant,              DANIEL VANCE

WALLS, aka Fly, did knowingly carry a firearm,            that is, a Kel-

Tec,   .380 caliber pistol, serial number HFJ69, with five rounds

of ammunition, during and in relation to a drug trafficking

crime, that is: attempt to possess with intent to distribute over

100 kilograms of marijuana, in violation of 21 U.S.C. §841(a) (I).

            In violation of 18 U.S.C. §924(c) (1) (A) and §2.




                                       3

Case: 2:09-cr-00054-JLG-TPK Doc #: 58 Filed: 09/17/09 Page: 4 of 4 PAGEID #: 161



                                   COUNT 4 


     1.      The allegations of Counts 1, 2 and 3 of this

Superseding Indictment are realleged and by this reference fully

incorporated herein for the purpose of alleging forfeitures to

the United States of America, pursuant to the provisions of 18

U.S.C. §924 (d) (1).

     2.      Upon conviction of the offenses alleged in Counts 1, 2

and 3 of the Superseding Indictment, DANIEL VANCE WALLS, aka Fly,

shall forfeit to the United States all firearms and ammunition

involved in the aforestated offense, including but not limited to

a Kel-Tec,    .380 caliber pistol,     serial number HFJ69, with five

rounds of ammunition.


             In violation of 18 U.S.C. §924 (d) (1).


                                     A True Bill.


                                     ~k

                                     FOR PERSON


WILLIAM E. HUNT
Acting United States Attorney



~p~
Deputy Criminal Chief




                                       4
